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                       United States v Hougen
                          CR 20-432 EJD
                             Exhibit C
              Case 5:20-cr-00432-EJD Document 214-3 Filed 11/09/21 Page 2 of 3




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     Counsel for Defendant HOUGEN
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 8                                  IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                                               SAN JOSE DIVISION
11

12    UNITED STATES OF AMERICA,                              No. CR 20-00432 EJD

13                             Plaintiff,                    MANUAL FILING NOTIFICATION RE
                                                             EXHIBIT C TO DEFENDANT’S
14       v.                                                  SENTENCING MEMORANDUM,
                                                             PSYCHOLOGICAL EVALUATION
15    OLE HOUGEN,                                            (FILED UNDER SEAL)

16                             Defendant.

17

18
19                                      MANUAL FILING NOTIFICATION

20            Regarding Exhibit C to Defendant’s Sentencing Memorandum:

21            This filing is filed under seal, and is being maintained in the Under Seal case file in the

22 Clerk’s office.

23            If you are a participant on this case, this filing will be served in hard copy shortly.

24            For information on retrieving this filing directly from the court, please see the Court’s

25 main website at http://www.cand.uscourts.gov under Frequently Asked Questions (FAQ).

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     United States v. Hougen
28 Case No. CR 20-00432 EJD

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              Case 5:20-cr-00432-EJD Document 214-3 Filed 11/09/21 Page 3 of 3




 1           This filing was not e-filed for the following reason(s):

 2           __X__ Psychological Evaluation, by Dr. Scott Lines (FILED UNDER SEAL)

 3           Dated: November 9, 2021                       Respectfully Submitted,

 4                                                         GEOFFREY HANSEN

 5                                                         s/___________________________
                                                            SEVERA KEITH
 6                                                          Acting Assistant Federal Public Defender
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     United States v. Hougen
28 Case No. CR 20-00432 EJD

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